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HOGAN LOVELLS US LLP
Stephen A. Loney, Jr. (N.J. No. 005172006)
Virginia Gibson (pro hac vice)
Jessica K. Jacobs (N.J. No. 038002011)
1735 Market Street, 23rd Floor
Philadelphia, PA 19103
Telephone: (267) 675-4600
Facsimile: (267) 675-4601

Ryan M. Philp (N.J. No. 031032003)
Alan M. Mendelsohn (pro hac vice)
390 Madison Avenue
New York, NY 10017
Telephone: (212) 918-3000
Facsimile: (212) 918-3100

Counsel for Plaintiff Austar International Limited

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

AUSTAR INTERNATIONAL LIMITED,
directly against and derivatively on behalf of   Civil Action
AustarPharma LLC                                 2:19-cv-08356(KM)(MAH)
             Plaintiff,
                                                 Document Filed Electronically
      v.
                                                 AUSTAR’S OMNIBUS
                                                 OPPOSITION TO THE
AUSTARPHARMA LLC
                                                 MOTIONS TO STAY
             Defendant/Nominal Defendant,        DISCOVERY OF
                                                 (1) AUSTARPHARMA AND
RONG LIU and GUANGZHOU BRISTOL
                                                 (2) LIU AND BOSTAL
DRUG DELIVERY CO., LTD.
             Defendants.                         Motion Day: September 3, 2019
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      Plaintiff Austar International Limited (“Austar”), by and through its

undersigned counsel, respectfully submits this Omnibus Opposition to (1) the

Motion to Stay Discovery Pending Resolution of the Motions to Dismiss filed by

Defendants Rong “Ron” Liu (“Liu”) and Guangzhou Bristol Drug Delivery Co.,

Ltd. (“Bostal”)1 (the “Liu and Bostal Motion”)2 and (2) the Motion to Stay

Discovery Pending Resolution of the Motions to Dismiss filed by Defendant

AustarPharma LLC (“AP”) (the “AP Motion”)3 (together, the “motions to stay” or

the “Motions”).

                        PRELIMINARY STATEMENT

      Defendants seek a stay because – like every defendant in every case – they

would prefer that the case against them not proceed while their motions to dismiss

are pending. Defendants essentially contend that the mere filing of a potentially

dispositive motion should effect a stay. Unfortunately for Defendants, this position

is directly contrary to the Federal Rules of Civil Procedure and decades of case law

establishing that stays are an extraordinary remedy and are heavily disfavored

1
 According to Defendants, the Guangzhou Bristol Drug Delivery Co., Ltd. is now
known as Bostal Drug Delivery Co., Ltd. (“Bostal”). (ECF No. 17-1.) Thus,
without adopting or agreeing to the accuracy of this assertion, Austar will refer
herein to “Bostal” when referring to Defendant Guangzhou Bristol Drug Delivery
Co., Ltd. for purposes of this brief.
2
 References to the Memorandum of Law in Support of the Liu and Bostal Motion
(ECF No. 45-1) appear herein as “Liu and Bostal Mem. at __.”
3
 References to the Memorandum of Law in Support of the AP Motion (ECF No.
46-1) appear herein as “AP Mem. at __.”
                                        1
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absent a strong showing of prejudice or other extenuating circumstances that are

not present here.

      Defendants fall far short of meeting their burden to show the necessity of

departing from the Federal Rules.       Indeed, instead of providing case-specific

reasons why proceeding with discovery would be an undue hardship on them,

Defendants offer nothing more than generic statements—i.e., that discovery is

expensive and that resources will need to be diverted to respond to discovery

requests. Defendants also baldly assert that there is no prejudice to Austar in

waiting a few months to begin discovery. These run-of-the-mill reasons could be

argued in any case; if they were sufficient, stays would be the norm rather than the

exception under the Federal Rules. In fact, the law is exactly the opposite—a

litany of cases in this District and throughout the country make clear that the mere

filing of a dispositive motion does not constitute “good cause” supporting the

issuance of a discovery stay.

      Consistent with their flawed position that a potentially case dispositive

motion warrants a stay, Defendants devote much of their Motions to re-briefing

their motions to dismiss. This is telling, as it demonstrates that the motions to stay

rest entirely on the pendency of a potentially case dispositive motion, but it also is

a waste of paper. The parties’ briefing on the motions to dismiss stands on its own.

Suffice it to say that Austar strongly opposes Defendants’ grounds for dismissal

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and respectfully refers the Court to its Omnibus Opposition to Defendants’

Motions to Dismiss (Dkt. No. 22). In short, as set forth therein, and contrary to

Defendants’      obfuscations,   this   is   a   quintessential and   robustly-pleaded

misappropriation of trade secrets and breach of fiduciary case that belongs in

federal court.

      Ultimately, because Defendants’ motions do not satisfy the burdens placed

squarely on them to justify a stay, Defendants’ Motions should be denied.

                             STATEMENT OF FACTS

      Austar commenced this action against Liu, Bostal, and AP on March 11,

2019 (ECF No. 1) after trying to negotiate with Liu in good faith to avoid

litigation. Austar trusted Liu to run the parties’ joint venture, AP, but Liu abused

that trust, breaching his contractual and fiduciary duties, misappropriating AP’s

trade secrets, and forming Bostal and related entities in China to usurp business

opportunities and exploit AP’s trade secrets and personnel for his own benefit. In

its Complaint, Austar alleges seven causes of action—including breach of fiduciary

duty, breach of contract, conversion of property, violation of the Federal Defend

Trade Secrets Act, misappropriation of trade secrets, tortious interference with

prospective economic disadvantage, and judicial expulsion—on behalf of itself

and/or derivatively on behalf of AP. (Id.)




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         On May 6, 2019, two months after Austar filed its Complaint, Defendants

filed their motions to dismiss. (ECF Nos. 16, 17.) On June 3, Austar filed its

Opposition to the Motions to Dismiss,4 establishing in detail that: (1) it properly

asserted derivative claims in its Complaint to protect AP’s interests and – in fact –

is the only party capable of protecting the company’s interests from Liu’s

misconduct; (2) the Complaint easily satisfies the liberal notice pleading standard

applicable to all of the claims; and (3) this Court easily has personal jurisdiction

over Bostal based on the entirely New Jersey-focused nature of its conduct against

a New Jersey company through Liu, a New Jersey resident.

         On June 12, 2019, shortly after the briefing on Defendants’ motions to

dismiss was complete (ECF Nos. 23, 24), the Court entered an Order, setting the

Scheduling Conference for August 15, 2019 before Magistrate Judge Hammer.

(ECF No. 25.) Defendants attempt to exploit the fact that Austar’s counsel filed a

letter with the Court requesting an adjournment of the Scheduling Conference to

mid-September due to a scheduling conflict. (AP Mem. at 3; Liu and Bostal Mem.

at 5.)     It is unfortunate that Defendants have resorted to mischaracterizing

consensual scheduling discussions among counsel in an effort to bolster their

motions to stay. Contrary to Defendants’ self-serving characterization of counsel’s

dialogue (which should not be before the Court), this scheduling letter followed

4
  References to Austar’s Opposition to Motion to Dismiss (ECF No. 22) appear
herein as “Opp’n to Mot. to Dismiss at __.”
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 discussions between Austar’s and Defendants’ counsel.           Austar’s counsel

 requested Defendants’ consent to a short adjournment because the then-scheduled

 August 15 Conference was during a pre-planned family vacation.5 In subsequent

 discussions, and after a discussion with Judge Hammer’s clerk regarding the

 Court’s availability in September, counsel agreed to propose September 17, 18,

 and 20 in Austar’s letter to Judge Hammer (ECF No. 42.) The fact that this letter

 also mentioned that the short adjournment would permit briefing on Defendants’

 planned motions to stay hardly evidences that Austar did not, and does not, intend

 to proceed expeditiously with discovery. To the contrary, Austar fully plans to

 serve discovery in advance of the Scheduling Conference, which the Court

 ultimately rescheduled for October 17, 2019.

                              LEGAL ARGUMENT

I.     THE MOVING PARTY’S BURDEN ON A MOTION TO STAY

       As the movants, Defendants have the burden of proving that they are entitled

 to a stay. Maher Terminals, LLC v. Port Authority of N.Y. and N.J., No. 12-6090,

 2013 WL 2253532, at *2 (D.N.J. May 22, 2013) (pursuant to Fed. R. Civ. P. 26(c),

 a court may stay discovery pending determination of a motion to dismiss only on a

 showing of “good cause” by the party requesting the stay); Gerald Chamales Corp.

 v. Oki Data Americas, Inc., 247 F.R.D. 453, 454 (D.N.J. 2007) (same); Coyle v.

 5
  The scheduling letter stated that Austar’s counsel’s pre-planned vacation was the
 primary reason for the requested adjournment. (ECF No. 42.)
                                          5
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 Hornell Brewing Co., No. 08-2797, 2009 WL 1652399, at *3 (D.N.J. June 9, 2009)

 (same).

       The default under the Federal Rules of Civil Procedure is that once a case is

 filed, the parties should proceed with discovery. “There is nothing in the Federal

 Rules . . . that mandates that discovery should not proceed before a motion to

 dismiss is decided.” Pennsylvania v. Navient Corp., 348 F. Supp. 3d 394, 401

 (M.D. Pa. 2018). “To the contrary, the timing set forth for discovery-related tasks

 in the Federal Rules, including for the parties’ discovery planning conference

 under Fed. R. Civ. P. 26(f) and the court’s issuance of a scheduling order under

 Fed. R. Civ. P. 16(b), indicates that it is expected that the parties in litigation will

 expeditiously begin discovery soon after a case is filed.” Id. Accordingly, motions

 to stay discovery “are not preferred.” Coyle, 2009 WL 1652399, at *3 (affirming

 Magistrate Judge’s letter order denying defendants’ application for a stay of

 discovery).    The stay of a civil proceeding is “an extraordinary remedy.”

 Costantino v. City of Atl. City., No. 13-6667, 2015 WL 668161, at *3 (D.N.J. Feb.

 17, 2015); Trusted Transp. Sols., LLC v. Guarantee Ins. Co., No. 16-7094, 2018

 WL 2187379, at *4 (D.N.J. May 11, 2018).

       Moreover, “it is well settled that the mere filing of a dispositive motion does

 not constitute ‘good cause’ for the issuance of a discovery stay.”              Gerald

 Chamales, 247 F.R.D. at 454; Navient Corp., 348 F. Supp. 3d at 401 (noting that

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 the court should not grant a stay merely because a motion to dismiss is pending);

 Udeen v. Subaru of America, Inc., 378 F. Supp. 3d 330, 332 (D.N.J. 2019);

 Spathos v. Smart Payment Plan, LLC, No. 15-8014, 2016 WL 9211648, at *1

 (D.N.J. Apr. 25, 2016). This is true regardless of the underlying basis for the

 dispositive motion, including motions that raise jurisdictional issues. See Maher

 Terminals, 2013 WL 2253532, at *2 (denying motion to stay discovery while

 motion to dismiss for lack of subject matter jurisdiction was pending); United

 States ex rel. Simpson v. Bayer Corp., No. 05-3895, 2013 WL 12303732, at *1

 (D.N.J. Jan. 4, 2013) (same).

       Defendants must establish that four factors weigh in their favor in order to

 depart from the default under the Federal Rules of proceeding with discovery: (1)

 whether a stay would unduly prejudice or present a clear tactical disadvantage to

 the non-moving party; (2) whether denial of the stay would create a clear case of

 hardship or inequity for the moving party; (3) whether a stay would simplify the

 issues and the trial of the case; and (4) whether discovery is complete and/or a trial

 date has been set. Udeen, 378 F. Supp. at 332. Here, Defendants have not carried

 their burden to show that these factors weigh in their favor; to the contrary, the

 factors individually and collectively support denial of Defendants’ Motions.6


 6
   All of the cases cited by Defendants in their Motions for the assertion that courts
 routinely exercise their discretion to stay discovery pending resolution of
 dispositive motions are distinguishable. See Mann v. Brenner, 375 F. App’x 232,
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II.     DEFENDANTS CANNOT MEET THEIR BURDEN TO SUPPORT
        THE EXTRAORDINARY REMEDY OF STAYING DISCOVERY.

        A.     Defendants Have Failed to Demonstrate that Austar Would
               Obtain a Tactical Advantage and Would Not Suffer any Prejudice
               if a Stay of Discovery Was Granted.

        Defendants claim that the first factor—whether a stay would unduly

  prejudice or present a clear tactical disadvantage to the non-moving party—weighs

  in their favor. Yet, they fail to provide a single reason as to why this is the case.

  Instead, Defendants make sweeping statements and misconstrue the facts in an

  effort to spin a supposed pre-filing delay as a justification for further delay.

  Defendants’ arguments fail as a matter of law and fact.

        The thrust of Defendants’ argument is the falsehood that Plaintiff failed to

  timely file its Complaint. (AP Mem. at 5; Liu and Bostal Mem. at 7.) AP even


  239-40 (3d Cir. 2010) (none of Plaintiff’s claims, as laid out in the complaint,
  entitled him to relief, and the argument that discovery could produce “a litany of
  facts” substantiating his claims was meritless because a motion to dismiss may be
  decided without extensive factual development); In re Orthopedic Bone Screw
  Prod. Liab. Litig., 264 F.3d 344, 365 (3d Cir. 2001) (discovery “was aimed at
  supporting claims” that fell outside the Federal Torts Claims Act, over which the
  court had no jurisdiction); Actelion Pharm. Ltd. v. Apotex Inc., No. 12-5743, 2013
  WL 5524078, at *1 (D.N.J. Sept. 6, 2013) (plaintiffs moved for a stay of discovery
  pending motion for judgment on the pleadings in antitrust declaratory action case,
  where cost of discovery is particularly expensive); N. Am. Commc’ns, Inc. v.
  Infoprint Solutions Co., LLC, No. 3:08-288, 2011 WL 4571727, at *4 (W.D. Pa.
  July 13, 2011) (minimal burden on plaintiff in granting stay because the parties had
  twice previously requested an extension of the discovery period, the second
  extension setting a deadline of more than a year after the initial deadline, plaintiff
  filed its initial claim at a late stage, and plaintiff was slow in responding to
  discovery).
                                            8
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 goes so far as to say that Austar “deliberately chose to wait to commence this

 action despite having knowledge of the supposed misconduct for several years.”

 (AP Mem. at 5.) These contentions are both irrelevant and untrue. As discussed in

 Austar’s Opposition to the Motions to Dismiss, Austar sought to negotiate in good

 faith with Liu to avoid litigation. (See Opp’n to Mot. to Dismiss at 17-18.) Such

 good-faith efforts to avoid litigation hardly should be turned against Austar. In any

 case, after Liu refused to cease his misconduct and frustrated efforts to resolve the

 dispute, Austar promptly initiated this litigation to protect AP’s trade secrets and

 business opportunities. There is no dispute that all of Austar’s claims were filed

 within the applicable statutes of limitations.

       To further confuse the facts in the hopes that the Court will grant its motion

 to stay, AP makes the same meritless allegation as it made in its motion to

 dismiss—that Austar made a formal demand on Liu in February 2018, yet waited

 13 months before commencing this action. (AP Mem. at 5-6.) As outlined at

 length in Austar’s Opposition to the Motions to Dismiss, Austar clearly did not

 make a formal litigation demand on AP’s Board of Directors in February 2018—or

 ever. (Opp’n to Mot. to Dismiss at 18-23.) Rather, the February 2018 letter was

 part of a then-ongoing dialogue between Austar, Liu (individually), and their

 respective outside counsel regarding a potential buy-out by Liu of Austar’s

 membership interest. The fact that Austar filed its Complaint 13 months after it

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 sent the February 2018 letter, after ongoing dialogue with Liu proved futile, is

 completely irrelevant to the Court’s determination of whether a stay should be

 granted.7

       Turning to the other side of the scale, Defendants offer nothing more than

 ipse dixit in an effort to establish that Austar will not be prejudiced by a stay.

 Specifically, Defendants contend that “the delay in resolving a dispositive motion

 does not, without more, establish that undue prejudice will result from issuance of

 a stay.” (AP Mem. at 5; Liu and Bostal Mem. at 7.) While this is true, it does not

 mask that Defendants have failed to offer any explanation for why AP would not

 be prejudiced were discovery to be stayed during the pendency of the motions to

 dismiss – and, in fact, it would be prejudiced by unwarranted delay.8

 7
   The fact that Austar did not seek a temporary restraining order or preliminary
 injunction when it commenced this action is irrelevant to the Court’s granting or
 denial of a motion to stay discovery. See Nippon Steel & Sumito Metal Corp. v.
 POSCO, No. CIV.A. 12-2429, 2013 WL 1867042, at *6 n.6 (D.N.J. May 2, 2013)
 (“[T]he failure to move for a preliminary injunction does not erase the fact that
 Nippon would likely suffer tangible harm from a stay.”); Eagle View Techs., Inc. v.
 Xactware Sols., Inc., No. 15-7025, 2016 WL 7165695, at *5 (D.N.J. Dec. 7, 2016)
 (“To the extent defendants focus on the fact that plaintiffs did not seek a
 preliminary injunction to support their arguments that plaintiffs will not suffer
 undue prejudice, the Court finds this is not determinative.”).
 8
    The cases Defendants cite in support of this statement are completely
 distinguishable from the present case. In Actelion Pharmaceuticals, the court
 found that the plaintiffs met their burden on the first factor because of: (1)
 defendants’ own failure to file claims and (2) defendants’ failure to file a suit
 seeking the drug samples at issue belied their argument that not receiving those
 drug samples “would offend the public’s particularly great interest in vigorously
 enforcing national anti-trust laws through the expeditious resolution of private
                                        10
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       Given the strong presumption that discovery should proceed, the prejudice to

 Austar outweighs the garden-variety harm that Defendants would allegedly suffer

 by proceeding with discovery.       Given the extensive briefing on Defendants’

 motions to dismiss and the time it could take for the motions to be decided, the

 case could be in suspense for a significant period if Defendants’ request to stay

 was granted. Courts thus generally disfavor granting motions to stay discovery

 “‘because when discovery is delayed or prolonged[,] it can create case

 management problems which impede the court’s responsibility to expedite

 discovery and cause unnecessary litigation expenses and problems.’”            Maher

 Terminals, 2013 WL 2253532, at *2 (quoting Coyle, 2009 WL 1652399, at *3);

 see Adriana Castro, M.D., P.A. v. Sanofi Pasteur Inc., No. 11-7178, 2012 WL

 12918261, at *2 n.2 (D.N.J. July 18, 2012) (the court has a responsibility to “keep

 its docket moving to provide litigants with a timely and effective resolution of their

 claims”) (citations and internal quotations omitted). Having filed its Complaint,

 Austar has the right to move forward. See Udeen, 378 F. Supp. 3d at 333 (denying

 defendants’ request to stay discovery because, in part, plaintiffs would be

 antitrust litigation” and “would prohibit Defendants from performing studies
 necessary for FDA approval.” 2013 WL 5524078, at *4 (internal quotations
 omitted). In Everett Laboratories, Inc. v. River’s Edge Pharmaceuticals, LLC, No.
 09-3458, 2009 WL 4508584 (D.N.J. Nov. 24, 2009), the defendant moved for a
 stay of the entire litigation pending reexamination of a patent with the Patent and
 Trademark Office. Id. at *2. The court granted the stay because “any added delay
 (or resulting prejudice) now caused by the reexamination . . . could, arguably, have
 been prevented” by the plaintiff. Id. at *3.
                                           11
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 prejudiced); Castro, 2012 WL 12918261, at *2 (“[G]ranting a stay until the

 motions to dismiss are decided may prejudice plaintiffs by forcing them to wait an

 indefinite period of time to pursue their claims.”).

       Additionally, contrary to Defendants’ contention that there is no concern

 present regarding spoliation or loss of evidence, Austar indeed is as concerned as

 any litigant in a complex commercial case that delay may result in the loss of

 evidence. As numerous courts have recognized, the longer a case sits without

 discovery, the greater chance that relevant evidence will be lost or destroyed.

 Udeen, 378 F. Supp. 3d at 333; Costantino, 2015 WL 668161; see Trusted Transp.

 Sols., 2018 WL 2187379, at *4 (“Plaintiff is prejudiced by a stay because any

 significant delay in the case could hinder its ability to prove its case.”); Worldcom

 Tech., Inc. v. Intelnet Int’l, Inc., No. CIV.A. 00-2284, 2002 WL 1971256, at *6

 (E.D. Pa. Aug. 22, 2002) (“[F]urther delay creates the risk of prejudice to plaintiffs

 in the form of lost evidence, fading memories, and potentially dissipating assets to

 pay any judgment that plaintiffs might secure.”). Here, Liu fully controls Bostal,

 and it is unclear what measures, if any, have been taking to preserve relevant

 documents – particularly given that Bostal presumably has documents in China.

 To be sure, denying the motions to stay would help ensure that relevant documents

 are preserved and exchanged from the outset and that Austar is not later

 disadvantaged in the discovery process.

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       B.     Defendants Do Not Meet Their Burden of Proving that Discovery
              Will Cause Them to Suffer Undue Hardship.

       Defendants bear the burden of making out “‘a clear case of hardship or

 inequity in being required to go forward’” with discovery “‘if there is even a fair

 possibility that the stay will work damage to someone else.’” Costantino, 2015

 WL 668161, at *3, *8 (quoting Landis v. N. Am. Co., 299 U.S. 248, 254-55

 (1936)); Kiley v. Tumino’s Towing, Inc., No. 2:18-CV-3165, 2019 WL 2432121, at

 *2 (D.N.J. June 10, 2019) (citations omitted). Defendants “‘must state a clear

 countervailing interest to abridge a party’s right to litigate.’” Costantino, 2015 WL

 668161, at *3 (quoting CTF Hotel Holdings, Inc. v. Marriott Int’l, Inc., 381 F.3d

 131, 140 (3d Cir. 2004)). To meet this burden, Defendants must do more than

 assert that discovery will be pointless if they win on their pending motions to

 dismiss. See Thompson v. Warren, No. 13-4334, 2015 WL 3386487, at *3 (D.N.J.

 May 26, 2015) (denying motion to stay where defendants “failed to state with any

 specificity” why their case differed “from any other case in which discovery may

 be rendered unnecessary by a subsequent ruling on a pending dispositive Motion”).

 Defendants plainly have failed to meet their burden here. See Udeen, 378 F. Supp.

 3d at 333 (finding that discovery would not be unduly time consuming or

 expensive); Doty v. Bayview Fin. L.P., No. 08-4090, 2009 WL 10690330, at *2

 (D.N.J. Oct. 7, 2009) (“Defendants have not shown good cause nor have they



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 adequately exhibited the hardship or inequity that would result if they were

 required to move forward with discovery of the named Plaintiff’s claims[.]”).9

       Defendants claim that discovery will be “an enormous undertaking” given

 the breadth of Austar’s allegations and claims. (AP Mem. at 6; see also Liu and

 Bostal Mem. at 8.) However, Defendants fail to provide any real support for this

 statement, nor do they provide any support for the premise that the scope of a

 plaintiff’s allegations matters to this analysis. Instead, in trying to prove hardship,

 they do nothing more than rehash the arguments they made in their motions to

 dismiss. Defendants are using their motions to stay discovery simply as another

 opportunity to litigate the merits of the case—and they do so by, once again,

 mischaracterizing the facts and presenting a picture far removed from reality.

       AP’s argument that “its limited role in this action is to (1) serve as the

 vehicle for Austar [] to manufacture federal jurisdiction and (2) provide discovery

 to the real parties in interest” (AP Mem. at 7) is plainly incorrect. As argued at

 length in its Opposition to the Motions to Dismiss, not only is federal jurisdiction

 premised on a federal statute creating original federal subject matter jurisdiction—

 9
   AP contends that the Court need not even consider this factor if it finds that
 Austar will not be unduly prejudiced. (AP Mem. at 6.) In support of this
 statement, AP cites Cable System Installations Corp. v. International Brotherhood
 of Electrical Workers, No. 12-7407, 2015 WL 13650366 (D.N.J. Mar. 30, 2015).
 The facts and procedural posture of this case are completely distinguishable from
 the case at bar. In Cable System Installations, the defendants sought to stay
 proceedings in one of three consolidated cases, id. at *1, not discovery during the
 period prior to a motion to dismiss being decided.
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 the Defend Trade Secrets Act—there also is no basis whatsoever to suggest that

 Austar’s Complaint attempts to manufacture diversity jurisdiction. (See Opp’n to

 Mot. to Dismiss at 24-27.) In any event, a request to stay discovery is not the

 proper vehicle for Defendants to argue the merits of the case and get an early

 ruling on their Rule 12 motions. See Gerald Chamales Corp., 247 F.R.D. at 454

 (“[T]he Court declines to weigh in on the merits of defendants’ motion asking the

 Court to Order plaintiff to arbitrate this case [because] Defendants’ Motion for

 Summary Judgment will be decided by the District Judge, not this Court.”); Udeen,

 378 F. Supp. at 334 n.4 (“To be clear, the Court is not weighing in on the merits of

 defendants’ Motion to Dismiss and it declines to predict whether the motion will

 be granted in whole or in part.”); Actelion, 2013 WL 5524078, at *5 (“Indeed,

 requiring this Court to opine on the underlying merits of the Plaintiffs’ dispositive

 motion, in addition to the District Court’s consideration, would be unduly

 duplicative.”).

       Likewise, Liu and Bostal’s arguments that (1) Austar has not sufficiently

 identified its trade secrets and (2) the Court lacks personal jurisdiction over Bostal

 were also briefed at length in the motion to dismiss papers and have no bearing on

 a request to stay discovery. Cutting and pasting the same arguments that formed

 the basis for their motions to dismiss into their motion to stay—which is essentially




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 what Defendants have done—does not help Defendants prove that they will suffer

 a hardship if discovery were to proceed.

       Contrary to Defendants’ arguments, Bostal’s challenge to jurisdiction

 provides no basis for a discovery stay.         Austar has made a prima facie of

 jurisdiction as to Bostal, as demonstrated in both the Complaint and Austar’s

 Opposition to the Motions to Dismiss. (See ECF No. 1 at ¶¶ 10, 15, 48, 49, 52, 58,

 59, 64-71; Opp’n to Mot. to Dismiss at 65-73.) The Complaint pleads a multitude

 of New Jersey contacts, demonstrating that Bostal expressly aimed its tortious

 conduct at New Jersey. (See Opp’n to Mot. to Dismiss at 66-70.) Specifically,

 inter alia, Bostal was founded by and is controlled by Liu, a New Jersey resident;

 Bostal’s conduct was orchestrated by Liu and aimed at a New Jersey company,

 AP; Bostal reached into New Jersey to acquire AP’s trade secrets through Liu

 while he was working in New Jersey; and Liu, through Bostal, pursued business

 opportunities, sales, and scientific partnerships that Liu knew AP intended to

 pursue itself and that should have been directed to AP, thus tortiously interfering

 with a New Jersey company’s prospective economic advantage. (See id. at 68-69;

 see also ECF No. 1 at ¶¶ 10, 15, 48, 49, 52, 58, 59, 64-71.) In the face of this

 strong prima facie showing, Bostal’s mere filing of a jurisdictional challenge does

 not support a stay.




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       Yet, even if Bostal’s jurisdictional challenge arguably provided some basis

 to restrain discovery, it would only support a limited stay as to Bostal, not all

 Defendants.    Moreover, even then, Austar would be entitled to jurisdictional

 discovery against Bostal.      Courts are only wary of allowing jurisdictional

 discovery if the plaintiff’s claim is “clearly frivolous.” See Toys “R” Us, Inc. v.

 Step Two, S.A., 318 F.3d 446, 456 (3d Cir. 2003) (“Although the plaintiff bears the

 burden of demonstrating facts that support personal jurisdiction, . . . courts are to

 assist the plaintiff by allowing jurisdictional discovery unless the plaintiff’s claim

 is ‘clearly frivolous.’”) (citations omitted). This is clearly not the case here. (See

 ECF No. 1 at ¶¶ 15, 52, 64, 65; Opp’n to Mot. to Dismiss at 65-73.) Because

 Austar has presented factual allegations that suggest “with reasonable

 particularity” the existence of the requisite contacts between Bostal and New

 Jersey, Austar’s “right to conduct jurisdictional discovery should be sustained.”

 See Toys “R” Us, 318 F.3d at 456 (reversing the district court’s denial of

 plaintiff’s request for jurisdictional discovery because the record contained

 sufficient non-frivolous allegations to support the request).10 Thus, as to Bostal,


 10
   In contrast to this case, in the cases cited in the Liu and Bostal Motion, there was
 “a complete absence of jurisdictional facts by the plaintiff” which was “insufficient
 for discovery to proceed.” Hansen v. Neumueller GmbH, 163 F.R.D. 471, 476 (D.
 Del. 1995); see Rose v. Granite City Police Dep’t, 813 F. Supp. 319, 322-23 (E.D.
 Pa. 1993) (“Because Plaintiff has failed to make even a prima facie showing that
 the Court has personal jurisdiction over Defendants, the Court will deny Plaintiff’s
 motion for a temporary stay of a decision on Defendants’ motion to dismiss.”).
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 jurisdictional discovery at the very least should proceed, and Bostal’s jurisdictional

 challenge provides no basis for the other Defendants to evade discovery.

       Moreover, AP’s claims that discovery “will be an enormous undertaking . . .

 given the breadth of Austar[’s] allegations and claims,” that responding to Austar’s

 discovery requests “will cost [AP] tens of thousands of dollars in attorneys’ fees

 and costs,” and that the discovery process will require AP to “divert the attention

 of key employees away from the company’s business to focus on assisting counsel

 in this litigation” (AP Mem. at 6-7) are unavailing as a matter of law. “Broad

 allegations of harm, unsubstantiated by specific examples or articulated reasoning,

 do not satisfy the Rule 26(c) test.” Kiley, 2019 WL 2432121, at *3 (quoting

 Gerald Chamales Corp., 247 F.R.D. at 455).

       For example, in Maher Terminals, this Court denied the defendants’ request

 for a stay of discovery pending disposition of the motion to dismiss, finding that

 the defendants failed to satisfy the good cause standard because they provided no

 evidence that proceeding with discovery would be “unduly” burdensome. 2013

 WL 2253532, at *3. The Court reasoned that “[i]n any cases where a dispositive

 motion is filed in the early stages of the litigation, the parties might incur discovery

 costs that ultimately may be rendered unnecessary if the pending dispositive

 motion is granted.”     Id.   The defendants, however, did not explain with any

 specificity why that case was any different than any other case in which a

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 dispositive motion had been filed early, and, thus, why the Court should have

 granted its request to stay discovery. Id.

       Similarly, here, Defendants have not identified why this case is any different

 from another case in which a motion to dismiss is filed. There is no reason why

 discovery cannot commence at this point.11

       C.     Defendants Have Not Shown How Entering a Stay Would
              Simplify the Issues and Trial of this Case.

       Defendants have failed to meet their burden of demonstrating that the third

 factor—whether a stay would simplify the issues and the trial of the case—weighs

 in their favor. Defendants assume that their motions to dismiss have a strong

 likelihood of success and would dispose of this entire action, or at least narrow the

 claims. (Austar Mem. at 8-9; Liu and Bostal Mem. at 11-13.) For this reason

 alone, they argue that they are entitled to a stay—so that they do not waste time

 and resources on discovery that may not be needed down the road. However, this

 argument directly contradicts case law in this District.

       Courts in this District have consistently held that where there is not a “clear

 and unmistakable result” that a court can reach on a motion to dismiss, the court

 should not grant a motion to stay discovery. See Castro, 2012 WL 12918261, at


 11
    Denying a stay of discovery does not prevent Defendants from asserting
 objections to the scope of discovery under Fed. R. Civ. P. 26(b), in the event that
 Defendants believe discovery requests are overbroad. See Castro, 2012 WL
 12918261, at *2 n.2.
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 *2; Simpson, 2013 WL 12303732, at *2 (denying defendants’ application to stay

 all fact discovery pending a decision on anticipated motion to dismiss for lack of

 subject matter jurisdiction); Gerald Chamales Corp., 247 F.R.D. at 454; Maher

 Terminals, 2013 WL 2253532, at *3 (“[I]t is clear to this Court upon its review of

 the motion to dismiss that the motion does not dictate a ‘clear and unmistakable

 result’ for either party; consequently, this Court cannot justify granting a stay of

 discovery.”); see also Thompson, 2015 WL 3386487, at *3 (“While Defendants’

 Dispositive Motion does not appear to be without foundation in law, the Court

 ‘does not believe the issuance of a protective order should depend upon its

 prediction of how the District Judge will decide defendants’ dispositive motion.’”)

 (citation omitted).

       This is precisely the case here—there is not a “clear and unmistakable

 result” that can be reached, and thus, a stay is not warranted. See Gerald Chamales

 Corp., 247 F.R.D. at 454. As Liu and Bostal acknowledge in their motion, Austar

 “filed a 73-page omnibus opposition brief to the motions to dismiss, disputing the

 motions on substantive grounds, and citing various cases, statutes, rules and other

 authorities.” (Liu and Bostal Mem. at 11.)12 While Austar believes it is clear the


 12
     The cases cited by Defendants in support of this factor can be easily
 distinguished. See Flores v. Pa. Dep’t of Corr., No. 3:CV-12-1149, 2013 WL
 2250214, at *1 (M.D. Pa. May 22, 2013) (pro se civil rights action in which
 discovery would be futile if motion to dismiss were granted); Weisman v. Mediq,
 Inc., Civ. A. No. 95-1831, 1995 WL 273678, at *2 (E.D. Pa. May 3, 1995) (motion
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 motions to dismiss should be denied, the motions cannot be summarily resolved.

 The Court will need to explore each claim and alleged ground for dismissal in

 order to decide the motions to dismiss. Defendants thus have provided no valid

 reason as to why the Court should delay discovery based merely on pending

 motions to dismiss.13,14

       Moreover, any contention that the motions will narrow the scope of

 discovery is disingenuous. All of Austar’s claims arise out of the same nucleus of

 operative facts – namely, Liu’s misappropriation of AP’s trade secrets and

 usurpation of corporate opportunities, in breach of contract, federal statute, and his

 fiduciary duties. Thus, the substance and scope of discovery will not be materially

 impacted by this Court’s ruling on the motions to dismiss, if at all. In fact,

 Defendants do not even move against Austar’s breach of contract claim – thus,

 to dismiss could be decided on the pleadings and would be decided in the near
 future); Waldman v. Carey, 82 F.R.D 469, 470-71 (the parties agreed that the only
 discovery immediately appropriate, if any, was discovery related to the question of
 whether plaintiff alleged facts constituting sufficient excuse for her acknowledged
 failure to demand action from the trustees); Victor v. Huber, No. 3:12-CV-282,
 2012 WL 2564841, at *2 (M.D. Pa. July 2, 2012) (plaintiff’s motion to file a
 supplemental complaint would significantly change the legal terrain of the lawsuit
 and shape the proper scope of discovery in the matter).
 13
    Courts have even denied motions to stay discovery in cases where a motion
 could dispose of the case or limit the issues. See, e.g., Doty, 2009 WL 10690330,
 at *2.
 14
    With respect to jurisdictional discovery, Defendants’ own cited case, Orchid
 Biosciences, Inc. v. St. Louis Univ., 198 F.R.D. 670 (S.D. Cal. 2001), recognizes
 that “where pertinent facts bearing on the question of jurisdiction are in dispute,
 discovery should be allowed.” Id. at 672.
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 regardless of the forum, this case will proceed and discovery necessarily will be

 exchanged regarding Liu’s misconduct, including through Bostal (the Chinese

 company he used as a conduit for his misdeeds). Thus, there is no basis to delay

 the inevitable – discovery should proceed now to prevent further undue delay and

 the potential spoliation or loss of critical evidence.

       D.     The Fact that This Case Is in its Early Stages Does Not Weigh in
              Favor of a Stay.

       Defendants argue that a stay should be granted because discovery has not

 begun and deadlines have not been set. (AP Mem. at 9-10; Liu and Bostal Mem. at

 13.) This is hardly remarkable or unusual given that this case was filed just a few

 short months ago – particularly given that the parties’ time has been consumed by

 thoroughly briefing motions to dismiss. Once again, Defendants have failed to

 meet their burden.

       The fact that a case is in its early stages and no trial date has been set is not a

 persuasive factor in a court’s decision as to whether to grant a motion to stay. See

 Udeen, 378 F. Supp. 3d at 333. Indeed, it is almost always the case that a trial date

 is not set before a motion to dismiss is decided. Id.

       In Coyle, discovery had not commenced by the time the defendants applied

 for a stay. 2009 WL 1652399, at *1-2. Yet, the court affirmed the Magistrate

 Judge’s letter order denying the defendants’ application for a stay of discovery. Id.

 at *5. In reaching its decision, the court reasoned that “[t]he power to stay a case
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 calls for the exercise of judgment and the weighing of competing interests,” and

 though the court acknowledged the burden discovery would place on the

 defendants while a potentially dispositive motion was pending, it could not find

 that the Magistrate Judge abused his discretion in weighing the factors and denying

 the motion to stay. Id. at *4.

       Similarly, here, the fact that this case is in its early stages and that discovery

 has not commenced should not influence the Court’s decision as to whether to

 grant a stay. This is especially the case given that Defendants have failed to meet

 their burden on any of the other three factors.           Moreover, the Scheduling

 Conference is already set for October 17, 2019, less than two months away, and

 Austar intends to serve discovery in advance of that conference.            Therefore,

 entering a stay would unnecessarily derail the orderly administration of this case.




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                                 CONCLUSION

       For all the foregoing reasons, Austar respectfully requests that this Court

 deny Liu and Bostal’s and AP’s motions to stay discovery pending resolution of

 their motions to dismiss.

 Dated: August 20, 2019               Respectfully submitted,

                                      HOGAN LOVELLS US LLP

                                      By: s/ Stephen A. Loney, Jr.
                                      Stephen A. Loney, Jr. (N.J. No. 005172006)
                                      stephen.loney@hoganlovells.com
                                      Virginia Gibson (pro hac vice)
                                      virginia.gibson@hoganlovells.com
                                      Jessica K. Jacobs (N.J. No. 038002011)
                                      jessica.jacobs@hoganlovells.com
                                      1735 Market Street, 23rd Floor
                                      Philadelphia, PA 19103
                                      Telephone: (267) 675-4600
                                      Facsimile: (267) 675-4601

                                      Ryan M. Philp (N.J. No. 031032003)
                                      ryan.philp@hoganlovells.com
                                      Alan M. Mendelsohn (pro hac vice)
                                      alan.mendelsohn@hoganlovells.com
                                      390 Madison Avenue
                                      New York, NY 10017
                                      Telephone: (212) 918-3000
                                      Facsimile: (212) 918-3100

                                      Counsel for Plaintiff
                                      Austar International Limited



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                           CERTIFICATE OF SERVICE

       I, Stephen A. Loney, Jr., hereby certify that, on August 20, 2019, I caused a

 true and correct copy of the foregoing Austar’s Omnibus Opposition to the

 Motions to Stay Discovery of (1) AustarPharma and (2) Liu and Bostal, and all

 documents filed therewith, to be electronically filed and served via the Court’s

 electronic filing system upon the parties registered to receive electronic filings.



                                                       s/ Stephen A. Loney, Jr.
                                                        Stephen A. Loney, Jr.
